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Pro Se 1 (Rev. 12/16)Complaint for a Civil Case



                                       UNITED STATE&gtIORICT COURT  ,T.A.

                                                         for the
                                                        ;l1.        t2; 22
                                               MiddieDisttict`6f Alabama

                                                                    oftliornPra
                                                                              "
                                                                              Case No.                              (Alkio-siuJ
                                                                                            (to befilled in by the Clerk's Office)
                          Charles Lyons
                             Plaintifirs)
(Write thefull naine ofeach plaintiff who isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,                Jury Trial: (check one)    CO Yes ❑ No
please write "see attached" in the space and attach an additional
page with thefiill list ofnames.)
                                 -v-




                Henry County Sheriffs Office
                           Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
'lathes ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach cm additionalpage
with thefull list ofnames.)



                                                  COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                               Name                                  Charles Lyons
                               Street Address                        611 Ashley Lakes Drive
                               City and County                       Peachtree Comers, Gwinnett County
                               State and Zip Code                    GA 30092
                               Telephone Number                      678-516-1528
                               E-mail Address                        akh7589Photinail,com

          B.         The Defendant(s)

                     Provide the infonnaticin below for each defendant nained in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (ifknown). Attach additional pages if needed.

                                                                                                                                     Page 1 of 5
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                    Defendant No. 1
                              Name                       Henry County Sheriffs Office
                              Job or Title (ifknown)
                              Street Address             101 Court Square Suite G
                              City and County            Abbeville, Heruy County
                              State and Zip Code         AL 36310
                              Telephone NuMber           334-585-3131
                              E-mail Address (ifknown)


                    Defendant No. 2
                              Name
                              Job or Title (ifknown)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (ifknown)


                    Defendant No.3
                              Name
                              Job or Title (itknown)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (ifknown)


                    Defendant No.4
                              Name
                              Job or Title (ifknown)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (tfknown)




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          Basis for Jurisdiction

          Federal courts are courts oflimited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship ofthe
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332,a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen ofthe same State as any plaintiff.

          What is the basis for federal courtjurisdiction? (check all that apply)
                 El Federal question                              0 Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                       Fourth admendment rights violation




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.        Ifthe plaintiff is an individual
                                          The plaintiff, (name)                                               ,is a citizen of the
                                          State of(name)


                                b.        If the plaintiff is a corporation
                                          The plaintiff, (name)                                                ,is incorporated
                                          under the laws of the State of(name)
                                          and has its principal place of business in the State of(name)



                               (Ifmore than one plaintiffis named in the complaint, attach an additionalpage providing the
                               same informationfor each additionalplaintiff)

                     2.        The Defendant(s)

                               a.         Ifthe defendant is an individual
                                          The defendant, (name)                                               ,is a citizen of
                                          the State of(name)                                              . Or is a citizen of
                                          (foreign nation)


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                                b.        Ifthe defendant is a corporation
                                          The defendant, (name)                                       ,is incorporated under
                                          the laws ofthe State of(name)                                         ,and has its
                                          principal place of business in the State of(name)
                                          Or is incorporated under the laws of(foreign nation)
                                          and has its principal place of business in (name)

                               (Ifmore than one defendant is named in the complaint, attach an additionalpage providing the
                               same informationfor each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):
                                 $1.5,000,000 for fourth amendment violation, wrongful imprisonment,false arrest, gross
                                 negligence




III.      Statement of Claim

          Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff hann or violated the plaintiffs rights, including
          the dates and places ofthat involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
          I had house illegally searched, had property siezed and arrested/charged without a search warrant from Hemy
          County, AL by Henry County deputies on February 1, 2017. My fourth admendment rights were violated, I was
          wrongfully imprisoned, falsely arrested and gross negilgence was committed by the Henry County Sheriffs
          Office in doing so.




IV.       Relief

          State briefly and precisely what damages or other reliefthe plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the Wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages




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          400,000 because Fourth Amendment rights violaion; $200,000 for wrongful imprisonment; $200,000 for false
          arrest; $200,000 for gross negligence; and $500,000 in punitive damages.
          The deputy knowingfully and willingfully filed charges with no warrant to justify the arrest which would cause
          me to lose myjob, pay an excessive bond to be released and ordered to follow strict bonding
          requirements/check-ins, toll on mental health/depression.



V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below,I certify to the best of my knowledge,information,
          and beliefthat this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflitigation;(2)is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
          requirements ofRule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:             01/10/2019


                     Signature of Plaintiff
                     Printed Name of Plaintiff      Charles Lyons

          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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